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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   CRIMINAL ACTION NO. H-10-12-1
                                               §
HUGO ORTIZ                                     §

                                    OPINION & ORDER

       Pending before the Court is Defendant Hugo Ortiz’s (“Ortiz”) motion to dismiss the

indictment (Doc. 56), as well as the Government’s response (Doc. 89), and Ortiz’s reply (Doc.

98). Upon careful review and consideration of this motion, the response and reply thereto, the

relevant legal authority, and for the reasons explained below, the Court finds that Defendant’s

motion should be denied.



I. Background and Relevant Facts

       The following allegations are drawn from the Government’s summary of this case.

(Doc. 89 at 2–3.)   On September 11, 2009, Agent Sehon, an off-duty Texas Alcohol and

Beverage Commission officer, and Mr. Novosel (“Novosel”), a traveling salesman for Movado

Jewelry, went to 2301 Sage Road, a Hilton Garden Inn, and parked at the front entrance.

Novosel was staying at the Hilton Garden Inn during a brief visit to Houston, Texas. Agent

Sehon was working an extra job providing security for Novosel. While Agent Sehon stayed in a

rented Chevrolet Impala to guard the Movado watches located in the backseat, Novosel went into

the hotel to use the restroom. Santos Diaz-Soto (“Diaz-Soto”) and Gabriel Ocampo-Mayorquin

(“Ocampo-Mayorquin”) then ran up to the Impala, broke the car’s windows, and held Agent

Sehon at gunpoint while they attempted to rob him of the watches. Agent Sehon fired shots at


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the suspects; Diaz-Soto was shot in the back and arms and Ocampo-Mayorquin was shot in the

arm. Diaz-Soto and Ocampo-Mayorquin immediately got into a green Acura and Juan Carlos

Valencia (“Valencia”) drove them away from the scene of the robbery.

       Immediately after the robbery, four witnesses saw three suspicious vehicles entering the

Gables Apartment Complex parking lot at 3300 Sage Road at a high rate of speed. The vehicles

stopped in the parking lot and the defendants switched in and out of the cars before fleeing.

Marcela Osorio-Pemberthy got out of a maroon SUV and into the driver’s seat of the green

Acura, and drove away. Valencia took Ocampo-Mayorquin in the maroon SUV to another

location to treat Ocampo-Mayorquin’s gunshot wounds. Ortiz left the Gables parking lot in a

black Toyota Sequoia with Diaz-Soto. After dropping Diaz-Soto off at Memorial Hermann

Southwest Hospital for treatment of his gunshot wounds, Ortiz fled.

       Along with his five codefendants, Ortiz is charged with conspiring to interfere with

commerce by robbery and with interference with commerce by robbery, both in violation of the

Hobbs Act, 18 U.S.C. § 1951(a). (Doc. 24.) Ortiz initially appeared before U.S. Magistrate

Judge Frances H. Stacy on December 9, 2009. (Doc. 9.) On December 11, 2009, Ortiz was

denied bond and remanded to the custody of the U.S. Marshals Service. (Doc. 16.) He was

indicted on January 13, 2010. (Doc. 24.) Ortiz now moves to dismiss the indictment against him

pursuant to the Speedy Trial Act of 1974, as amended, 18 U.S.C. §§ 3161 et seq. Ortiz argues

that he was indicted more than thirty days after his arrest on federal charges, in violation of 18

U.S.C. § 3161(b). The Government concedes that “the indictment was returned three days late,”

but contends that the absence of an essential witness tolled the thirty day period. (Doc. 89 at 7.)

On June 17, 2010, the Court held an evidentiary hearing on the matter. (Doc. 107.) At the

hearing, FBI Special Agent Mario Aguilar and Lauro Alfaro from A Way Out Bonding


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Company testified. (Doc. 105.)



II. Speedy Trial Act

       The Speedy Trial act requires that “[a]ny information or indictment charging an

individual with the commission of an offence be filed within thirty days from the date on which

such individual was arrested or served with a summons in connection with such charges.” 18

U.S.C. § 3161(b). Excluded from the thirty days is “[a]ny period of delay resulting from the

absence or unavailability of the defendant or an essential witness.” 18 U.S.C. § 3161(h)(3)(A).

       Ortiz bears the burden of proof in his motion to dismiss under the Speedy Trial act. 18

U.S.C. § 3162(a)(2). The Government, however, has the burden of going forward with the

evidence with respect to the exclusion of time for an absent essential witness under 18 U.S.C.

§ 3161(h)(3). Id.; See United States. v. Hamilton, 46 F.3d 271, 275 (3d Cir. 1995).

       The remedy required for violation of the Speedy Trial act is dismissal of the indictment.

18 U.S.C. § 3162(a)(1).     However, the court may dismiss the indictment with or without

prejudice. “In determining whether to dismiss the case with or without prejudice, the court shall

consider, among others, each of the following factors: the seriousness of the offense; the facts

and circumstances of the case which led to the dismissal; and the impact of a reprosecution on

the administration of this chapter and on the administration of justice.” Id.; See United States v.

May, 819 F.2d 531, 534 (5th Cir. 1987).



III. Discussion

       Diaz-Soto was cooperating with the Government and had provided information

inculpating his codefendants, including Ortiz. (Doc. 89 at 5.) Diaz-Soto was able to post bond


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on his state charges before the federal government took custody of him. (Id. at 4.) Diaz-Soto

fled and remains a fugitive. (Id. at 5.) Based on testimony taken at the evidentiary hearing, the

Court finds that the Government has and continues to exercise due diligence in an effort to locate

Diaz-Soto. (Doc. 107.) After Diaz-Soto fled, the Government was forced to reevaluate its case

against Ortiz and his codefendants, in turn delaying the indictments. (Doc. 89 at 5.)

       The Government argues that the “absence” of Diaz-Soto, an “essential witness,” tolled

the thirty day period. (Doc. 89 at 7.) The Court finds that Diaz-Soto is clearly “absent” within

the meaning of the Speedy Trial act.          18 U.S.C. § 3161(h)(3)(B) (considering an essential

witness “absent when his whereabouts are unknown and, in addition, he is attempting to avoid

apprehension or prosecution or his whereabouts cannot be determined by due diligence.”). The

term “essential witness” is not defined in the Act. Courts generally consider essential a witness

who can provide testimony “extremely important to the proceeding, perhaps providing proof that

was not otherwise attainable.” United States v. Marrero, 705 F.2d 652, 656 (2d Cir. 1983)

(citing S.Rep. No. 1021, 93rd Cong. 2d Sess. 37 (1974)). Diaz-Soto would certainly be an

essential witness against Ortiz at trial. Id. The question here, however, is whether Diaz-Soto is

an essential witness under the Speedy Trial act for purposes of the indictment timeline. The

issue is seemingly one of first impression.

       That the Government obtained an indictment against Ortiz without Diaz-Soto’s assistance

is largely immaterial. Hamilton, 46 F.3d at 276 (deeming “a witness ‘essential’ for the purposes

of 18 U.S.C. § 3161(h)(3)(A) even though the government could possibly obtain a conviction

without that witness’s testimony.”). Diaz-Soto, of course, would have been very unlikely to

testify before the grand jury without a promise of immunity from the Government. Nonetheless,

the fact that Diaz-Soto was a fugitive and might not be available to testify at trial greatly limited


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the Government’s ability to present the case to a grand jury. The Court therefore finds that Diaz-

Soto was an essential witness within the meaning of the Speedy Trial act for the purpose of

tolling the indictment timeline.



IV. Conclusion

       Accordingly, the Court hereby ORDERS that Hugo Ortiz’s motion to dismiss (Doc. 56)

is DENIED.

       SIGNED at Houston, Texas, this 22nd day of June, 2010.


                                                ___________________________________
                                                         MELINDA HARMON
                                                  UNITED STATES DISTRICT JUDGE




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